Case 1:09-cv-10653-JGD Document 28-1 Filed 03/21/10 Page 1 of 11




                                                      EXHIBIT A
Case 1:09-cv-10653-JGD Document 28-1 Filed 03/21/10 Page 2 of 11
Case 1:09-cv-10653-JGD Document 28-1 Filed 03/21/10 Page 3 of 11
Case 1:09-cv-10653-JGD Document 28-1 Filed 03/21/10 Page 4 of 11
Case 1:09-cv-10653-JGD Document 28-1 Filed 03/21/10 Page 5 of 11
Case 1:09-cv-10653-JGD Document 28-1 Filed 03/21/10 Page 6 of 11
Case 1:09-cv-10653-JGD Document 28-1 Filed 03/21/10 Page 7 of 11
Case 1:09-cv-10653-JGD Document 28-1 Filed 03/21/10 Page 8 of 11
Case 1:09-cv-10653-JGD Document 28-1 Filed 03/21/10 Page 9 of 11
Case 1:09-cv-10653-JGD Document 28-1 Filed 03/21/10 Page 10 of 11
Case 1:09-cv-10653-JGD Document 28-1 Filed 03/21/10 Page 11 of 11
